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UNITED ST A TES DISTRICT COURT                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED,.
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UNITED ST ATES OF AMERICA ,
                                                                        DATE FILED: . I I/5" l~q
                  -against-                                                  18 CR 21 7 (KMW)

                                                                              SENTENCING
                                                                           SCHEDULING ORDER
GORDON FREEDMAN

                                                    Defendant.
------------------------------------------------------------------x

KIMBA M. WOOD, District Judge

         The Defendant is scheduled to be sentenced on January 14, 2021 at 10:00 a.m.

         Any sentencing submissions by Defendant must be made by December 31, 2020, and

must state specifically whether Defendant contests any fact in the Presentence Report, and

whether Defendant contests the appropriateness of the Probation Officer's Sentencing

Recommendation.

         All counsel must review the Court's Individual Rules before submitting sentencing

memoranda.

         Any response or other submission from the Government is due January 7, 2021.



SO ORDERED

Dated: New York, New York
       November 5, 2020


                                                                            KIMBA M. WOOD
                                                                      UNITED ST ATES DISTRICT JUDGE
